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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                              NO. 4:05CR00141 GH

ERIC LLOYD TYLER,
RUTHIE MAE LITTLES, and
CHANGUS LEON BELL

                               FINAL ORDER OF FORFEITURE

        WHEREAS, on September 7, 2006, this Court entered a Preliminary Order of Forfeiture,

ordering defendants to forfeit their interest in the following:

        Personal Property:

        $22,865.00 in U. S. Currency

        WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette,

a newspaper of general circulation, notice of this forfeiture and of the intent of the United States

to dispose of the property in accordance with the law and as specified in the Preliminary Order,

and further notifying all third parties of their right to petition the Court within thirty (30) days for

a hearing to adjudicate the validity of their alleged legal interest in the property;

        WHEREAS, the United States also provided actual notice to all interested parties,

including to the defendants;

        WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

        IT IS ORDERED that all right, title, and interest in all of the property set forth above is

hereby forfeited to the United States, and the United States Marshal shall dispose of such


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property according to law.

       SO ORDERED this 20th day of November, 2006.


                                       __________________________________
                                       UNITED STATES DISTRICT JUDGE




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